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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :

UNITED STATES OF AMERICA,                     :

     - v. -                                   :      S1 05 Cr. 1115 (WHP)

ULYSSES THOMAS WARE,                          :
     a/k/a “Thomas Ware,”
                                              :
                        Defendant.
                                    :
------------------------------------x




                 GOVERNMENT’S MEMORANDUM OF LAW
      IN OPPOSITION TO WARE’S FIRST MOTION TO SUPPRESS EVIDENCE




                                              MICHAEL J. GARCIA
                                              United States Attorney for the Southern
                                              District of New York


ALEXANDER H. SOUTHWELL
STEVEN FELDMAN
Assistant United States Attorneys

       - Of Counsel -
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       The Government respectfully submits this memorandum of law in opposition to Ware’s

motion to suppress evidence dated January 2, 2007, which seeks his third trial adjournment, as

well as suppression of all evidence obtained by the SEC in their enforcement action, dismissal of

the Indictment, and other relief. This motion is both untimely and completely meritless and it

should therefore be summarily denied in its entirety.

       Initially, the motion’s filing, just two weeks prior to trial, demonstrates that it is no more

than another of Ware’s delay tactics and it should be rejected on that basis. This case was

brought in November 2005 and the Court initially set a motion deadline in April 2006.

Additionally, at the November 17, 2006, hearing at which Ware was permitted to proceed pro se,

the Court set a deadline of December 1, 2006, for Ware to move to dismiss the Indictment, as he

had suggested he wished to do. The instant motion to suppress and dismiss the Indictment was

not filed in April 2006, or even in December 2006, but only now, two weeks prior to trial, with

no good cause demonstrated or even offered. Pursuant to Federal Rule of Criminal Procedure

12(e), these motions have been waived and should be dismissed.
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       In the event the Court determines to address the merits of Ware’s motion, it should be

summarily denied in its entirety without a hearing. Ware’s January 2, 2007, submission is

completely premised on Ware’s same argument about alleged improper collusion between the

United States Securities and Exchange Commission (“the SEC”) and the United States

Attorney’s Office for the Southern District of New York (“the Office”) – an argument which the

Court previously rejected on two occasions. Ware again alleges Governmental misconduct and

illegal collusion between the SEC, specifically Trial Counsel Jeffrey Norris, and the Office and

the Federal Bureau of Investigation, specifically AUSA Southwell and FBI Special Agent David

Makol, contending primarily that in the SEC’s civil proceeding Mr. Norris “hid behind a covert

opaque veil of secrecy, used deceit, trickery and intentional misrepresentations and shared non-

public information with Southwell” and that the “criminal authorities developed their criminal

investigation with the concerted efforts of Norris.” (See Ware Mem. at 15). Although he now

submits an affirmation purporting to create numerous factual disputes necessitating an

evidentiary hearing, that affirmation offers little of relevance within the personal knowledge of

Ware and should not prompt a hearing. And Ware’s speculative assertions of improper conduct

underlying his whole motion remain as meritless as the last two times the Court rejected them.

       As the Government previously advised the Court, the Government’s criminal

investigation of Ware and his co-conspirators did not begin based on a referral from, or as an

outgrowth of, a parallel SEC investigation. Instead, the criminal investigation was initiated by

this Office in response to a contempt referral by Judge Sand, who was presiding at the time over

a civil suit brought by four entities against Ware and others for business conduct that occurred at

around the same time as Ware’s involvement with Investment Technology, Inc., one of the



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securities at issue in this case. On or about December 22, 2003, following repeated and willful

disobedience of the Court’s orders, Judge Sand referred Ware and his co-defendants to this

Office for prosecution on criminal contempt. Prior to this referral in December 2003, there was

no criminal investigation of Ware or his co-conspirators by this Office.

       In the course of investigating the criminal contempt involving the civil litigation

concerning that other company, the Office learned about the SEC’s action against Ware and

others concerning Investment Technology in the District of Nevada, which had been commenced

around July 2003. In the course of that litigation and during the preceding investigative stage,

the SEC had deposed Ware and his co-defendant Jeremy Jones, among others, in or around June

and July 2002, over a year before the Government even opened its criminal investigation of

Ware. In or about August 2004, the Government was briefed on the status of that litigation by

the SEC staff attorney and the Government formally requested access to the SEC’s files related

to that case by letter dated August 17, 2004. The SEC approved that access request by letter

dated September 15, 2004. In the course of communications with the SEC, the Government

obtained the depositions taken by the SEC, as well as the documents obtained by the SEC in the

course of that action and investigation (all of which have been turned over to the defense in

discovery in this matter).

       Following briefing and argument related to these same allegations of improper collusion

on May 19, 2006, the Court found that there was no evidence of any improprieties and that the

Office and the SEC investigations each were independent. Specifically, the Court ruled:

               the SEC investigation here ha[s] been initiated long before any
               direction by District Judge Sand that Mr. Ware be investigated on
               criminal contempt and that Mr. Ware was not indicted until more
               than [a year] after the SEC approved the government’s request for


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               SEC files in this matter. So in this case it appears to me from
               everything that I’ve seen that the investigation conducted by the
               SEC and the investigation conducted by the U.S. Attorney’s office
               were independent of each other and there is no evidence that the
               SEC was acting as some instrumentality or apparatus of the U.S.
               Attorneys Office in connection with the criminal investigation in
               this case.

(5/19/06 Tr. at 7).

       The instant motion offers nothing new to support revisiting this ruling. Ware submits a

lengthy legal memorandum to bolster his suppression and dismissal motion, in which he asserts

that the Government failed to notify him that it contemplated criminal prosecution during the

course of his civil proceeding and then improperly coordinated efforts with the SEC, misleading

various courts and violating Ware’s constitutional rights and “the universal sense of justice.” To

support these allegations, Ware does submit an affirmation, but that affirmation does not create a

factual dispute of any consequence. Most of Ware’s affirmation consists of information

purportedly from an affirmation filed by Mr. Norris in the SEC action,1 communications between

Ware and Mr. Norris, or legal conclusions. The only information asserted upon personal

knowledge by Ware relates to his arrest on a civil contempt warrant issued by Judge Sand2

(See Ware Aff. ¶ 26) and the fact that he was never notified during the course of the civil


       1
               Notably, Ware’s motion appears premised on the idea that the Office was in
contact with the SEC shortly after the filing of the SEC’s complaint in July 2003. (See Ware
Mem. at 8 (“Norris via his affidavit of October 3, 2006 states under oath that FBI Agent David
Makol contacted him personally shortly after he filed the civil complaint.”) (emphasis added)
(citing Norris Aff. ¶ 4)). Ware, however, misquotes Norris, whose affidavit actually states that
he was contacted by Agent Makol “some time” after the SEC’s complaint was filed. (See Norris
Aff. ¶ 4).
       2
                While the Government learned after the fact that Judge Sand sought to have an
arrest warrant for civil contempt executed by the United States Marshals, which was executed on
or about September 1, 2004, the Office and the SEC were not involved in the execution or
coordination of that arrest.

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litigation that he was a target of subject of a criminal investigation (Ware Aff. ¶ 28). The

Government does not dispute those specific facts, but certainly disputes the legal conclusions

Ware draws from them.

       Quite simply – and as previously found by the Court – the factual record in this case

demonstrates that there was no improper collusion, violation of Ware’s rights, or cover-up

misleading Ware or the Court, primarily because the criminal investigation in this case was

completely independent of the civil investigation. Especially given the separate timing of the

investigations, the Government at no time suggested or even discussed with the SEC how they

should handle their investigation; indeed, the SEC’s investigation was essentially – if not

completely – completed by the time the Government began criminally investigating Ware.3

There is thus no factual support for the claim of impermissible collusion.

       Moreover, cooperation between the Department of Justice and the SEC is a long-standing

and appropriate practice, one that has even been recognized as “commendable” by the Second

Circuit. United States v. Fields, 592 F.2d 638, 646 (2d Cir. 1978) (reversing a district court’s

striking of certain parts of a securities fraud Indictment due to alleged misconduct by the SEC in

a parallel action and holding that communications between the SEC and U.S. Attorney’s Office

were permissible under the applicable statutes, rules and regulations and that preliminary,

informal, communications was a “commendable example of inter-agency cooperation” with

significant advantages). Such communications are also expressly provided for by statute. For

example, Section 21(d) of the Securities Exchange Act of 1934 provides:

       3
                Specifically, the Office had no knowledge about Ware’s attempts to depose Steve
Webster and no advance knowledge or participation in Ware’s September 1, 2004, arrest on the
civil contempt warrant issued by Judge Sand, contrary to Ware’s bald assertions of nefarious
conspiratorial connections. (See Ware Mem. at 19).

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               The Commission may transmit such evidence as may be available
               concerning such acts or practices as may constitute a violation of
               any provision of this chapter or the rules or regulations thereunder
               to the Attorney General, who may, in his discretion, institute the
               necessary criminal proceedings under this chapter.4

       The improper and unconstitutional conduct Ware alleges – that the civil investigative

process was abused by the involvement of criminal prosecutors – was an issue in two recent

cases which, curiously, Ware does not cite in his memorandum, instead relying on numerous

inapposite cases. See United States v. Stringer, 2006 U.S. Dist. LEXIS 3435 (D. Or. Jan. 9,

2006); United States v. Scrushy, 366 F. Supp. 2d 1134 (N.D. Ala. 2005). But the issue at the

heart of those cases is quite simply not present here, where, as a factual matter, there was no

coordination because there was no involvement and the civil investigation was completed prior

to the criminal case even being initiated. But perhaps more fundamentally, those cases are not

binding authority on this Court and are contrary to the law in this circuit. See Fields, 592 F.2d at

646; see also SEC v. Dresser Indus. Inc., 628 F.2d 1368 (D.C. Cir. 1980) (en banc) (rejecting

panel decision that forbade SEC from giving information to DOJ after Grand Jury impaneled and

noting “[e]ffective enforcement of the securities laws requires that the SEC and Justice be able to

investigation possible violations simultaneously”); United States v. Teyibo, 877 F. Supp. 846

(S.D.N.Y. 1995) (denying motion to suppress SEC deposition and finding that SEC and DOJ

investigations were independently motivated); United States v. Moses, No. 1:04-CR-508-CAP

(N.D. Ga. Oct. 12, 2005) (adopting report and recommendation denying motion to suppress and

for evidentiary hearing based on prosecutorial misconduct due to alleged improper collusion

       4
               Section 20(b) of the Securities Act of 1933 similarly provides that “[t]he
Commission may transmit such evidence as may be available concerning such acts or practices
to the Attorney General who may, in his discretion, institute the necessary criminal proceedings
under this subchapter.”

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with the SEC because the investigations were independently motivated). Furthermore, Stringer

and Scrushy are plainly inapposite. The issue in those cases was the alleged merging of the

criminal and civil investigations, which those courts found led to violations of the defendants’

constitutional rights. But here, Ware’s answers in the civil litigation were filed and the Ware’s

depositions taken even before the Government initiated its criminal investigation so there could

be no impermissible coordination in violation of Ware’s constitutional rights. And there is no

authority for Ware’s apparent position that there was an obligation to inform him that a criminal

investigation had commenced concerning him even well after any active information gathering

in the SEC action.

       The remaining improprieties alleged by Ware are completely meritless and do not justify

the relief Ware seeks.

                                         CONCLUSION

       For the foregoing reasons, the Government respectfully submits that the Court should

deny Ware’s motion in its entirety without a hearing.

Dated: New York, New York
       January 4, 2007
                                             Respectfully submitted,

                                             MICHAEL J. GARCIA
                                             United States Attorney
                                             Southern District of New York

                                          By: /s/
                                             ALEXANDER H. SOUTHWELL
                                             STEVE FELDMAN
                                             Assistant United States Attorneys
                                             (212) 637-2417 / 2484




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